         Case 1:11-cv-02162-WWC Document 5 Filed 02/23/12 Page 1 of 2




UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

                                            :
Anita Bull,                                 :
                                            :
                                            : Civil Action No.: 1:11-cv-02162-WWC
                     Plaintiff,             :
        v.                                  :
                                            :
Jacob Collection Group, LLC; and DOES 1-10, :
inclusive,                                  :
                                            :
                     Defendant.             :


          NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                  DISMISSAL OF ACTION WITH PREJUDICE
                         PURSUANT TO RULE 41(a)


       Anita Bull (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint and
voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: February 23, 2012

                                                   Respectfully submitted,

                                                   PLAINTIFF, Anita Bull

                                                   /s/ Jody B. Burton

                                                   Jody B. Burton, Esq.
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         Case 1:11-cv-02162-WWC Document 5 Filed 02/23/12 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2012, a true and correct copy of the foregoing
Notice of Withdrawal was served electronically by the U.S. District Court for the Middle District
of Pennsylvania Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                            By_/s/ Jody B. Burton_________

                                                 Jody B. Burton
